Case 2:20-cv-00597-PSG-RAO Document 1-12 Filed 01/21/20 Page 1 of 46 Page ID #:789




                    EXHIBIT K




                                                                 Exhibit K, Page 773
         Case 2:20-cv-00597-PSG-RAO Document 1-12 Filed 01/21/20 Page 2 of 46 Page ID #:790



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         Case 2:20-cv-00597-PSG-RAO Document 1-12 Filed 01/21/20 Page 3 of 46 Page ID #:791




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                                       Death (4)                                                                                                                      4"11
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                                 se
                                                                          AND STATSMENT OF LOCA'TION                                                              Page I of 4


                                                                                                                                                               Exhibit K, Page 775
 Case 2:20-cv-00597-PSG-RAO Document 1-12 Filed 01/21/20 Page 4 of 46 Page ID #:792


SHORT TITLE: Certain Underwriters at Lloyd's. London sub, to Pol. Nos.'LSI 200432 an8 LSI 300125 alslo I imothy   CASE NUMBER
               McPartlin et at. v. Southern California Edison Company et at.



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                            c a tego~X.- 01.,                                                        Ch                                                     Above' i

                        Business Tort (07)                  El A6029 Other Commercial/Business Tort (not fraud/breach of contract)                1.2,3

                          Civil Rights (08)                 Q A6006 Civil Rights/Discdm !nation                                                   1,2,3

                          Defamaflon (13)                   0 A601 0 Defamation (slander/libel)                                                   1,2,3

                              Fraud (16)                    11 A6013 Fraud (no contract)                                                          1,2, 3


                                                            El A6017 Legal Malpractice                                                            1,2,3
                  Professional Negligence (25)
                                                            0 A6060 Other Professional Malpractice (not medical or legal)                         1.2,.3


                              Other(35)                     0 A6025 Other Non-Personal Injury/Property Damage tort                                1,2,3

                    Wrongful Terminatlon (36)               El A6037 Wrongful Terminadon                                                          1.2,3
      4)
      E
     >1                                                     El A6024 Other Employment Complaint Case                                              1,2,3
      0
     'a              Other Employment(15)
      E                                                     El A61 09 Labor Commissioner Appeals                                                  10
     LU

                                                            0 A6004 Breach of RentaYLease Contract (not unlawful detainer or wrongful             2,5
                                                                          eviction)
                  Breach of Contractl Warranty              ❑ A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)              2,5
                                 (06)                       El
                          (not Insurance)                                                                                                         1,2,5
                                                            El A6019 Negligent Breach of ContractlWarranty (no fraud)
                                                                                                                                                  1.2,5
                                                            • A6028 Other Breach of ContracttWarranty (not fraud or negligence)

                                                            • A6002 Collections Case-Seller Plainfiff                                             5,6, 11
                          Collections (09)
                                                            0 A6012 Other PromissQry Note/Collections Case                                        5, 11
                                                            11   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5.6, 11
                                                                        PurGhased on or after January 1. 2014)

                    Insurance Coverage(18)                  El A6015 Insurance Coverage (not complex)                                             1,2,5.8

                                                            0 A6009 Contractual Fraud                                                             1,2, 3, 5

                        Other Contract(37)                  El A6031 Tortious Interference                                                        1,2, 3.5

                                                            0 A6027 Other Contract Dispute(not breachlinsurancelfraud/negligence)                 1,2,3,8,9

                     Eminent Domain/Inverse
                                                            El A7300 Eminent Domaln/Condemnation                    Number of parcels             2,6
                       Condemnatlon (14)
     N                Wrongful Eviction (33)                0 A6023 Wrongful Eviction Case                                                        2: 6


                                                            El A6018 Mortgage Foreclosure                                                         2,6
                     Other Real Property (26)               0 A6032 Quiet Title                                                                   2,6
                                                            0 A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)        2. 6

                 Unlawful Detainer-Commercial
                                                            El A6021 Unlawful Detainer-Commercial (not drugs or wrongful evicton)                 6.11
                                 (31)

                  Unlawful Detain er-Resident al
                                                            11 A6020 Unlawful Detainer-Residential (not drugs or wrongful evicton)                6. 11
                —                (32)
                        Unlawful Detainer-
                                                            Cl A6020FUn(awful Detainer-Post-Foreclosure                                           2,6, 11
                      Post-Foreclosure (34)             1                                                                                     1
                  Unlawfuf Detainer-Drugs(38)               0 A6022 Unlawful Detainer-Drugs                                                       2,6, 11



                                                        CIVIL CASE COVER SHEET ADDENDUM                                                      Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                           AND STATEMENT OF LOCATION                                                              Page 2 of 4
 For Mandatory Use

                                                                                                                                        Exhibit K, Page 776
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    SHORT TITLE: certaln Underwriters at Lloyd's, London sub. to Pol. Nos. LSI 200432 and LSI 300125 a/s!o Timothy                                   CASE NUMBER
                 McPartlln el al. v. Southern Celifornia Edlson Company et al.             .


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                            Asset Forfeiture (05)                           ❑      A6108 Asset Forfeiture Case                                                                                               2, 3, 6


                          Petition re Arbitration (11)                     ❑       A6115 Petition to Compel/ConfirmNacate Arbitration                                                                        2,5
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        .~d
          m                                                                ❑       A6151 Writ - Administrative Mandamus                                                                                      2,8
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         'U                 Writ of Mandate (02)                            ❑      A6152 Writ - Mandamus on Limited Court Case Matter                                                                        2
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                          Other Judlcial Review (39)                               A6150 Other Writ /Judicial Review                                                                                         2, 8
                                                                           rcl

                    Antitrust/Trade Regulation (03)                        ❑       A6003 Antitrust/Trade Regulation                                                                                          1, 2, 8
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         rn               Construction Defect (10)                         ❑       A6007 Construction Defect                                                                                                 1, 2, 3
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          x               Claims Involving Mass Tort                       p A6006 Claims Involving Mass Tort
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         c                                 (40)
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         0                 Securities Litigation (28)                      ❑       A6035 Securities Litigation Case                                                                                          1, 2, 8
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          c                       Toxic Tort
                                                                            ❑      A6036 Toxic Tort/Environmental                                                                                            1, 2, 3, 8
        .N0                   Environmental (30)
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         0            Insurance Coverage Claims
         a                                                                  ❑      A6014 Insurance Coverage/Subrogation (complex case only)                                                                  1, 2, 5, 8
                        from Complex Case (41)

                                                                            ❑     A6141 Sister State Judgment                                                                                                2, 5, 11

                                                                            ❑      A6160 Abstract of Judgment                                                                                                2,6

                                 Enforcement                               ❑       A6107 Confession of Judgment (non-domestic reiations)                                                                     2,9
                               of Judgment (20)                             ❑      A6140 Administrative Agency Award (not unpaid taxes)                                                                      2,8

                                                                           ❑      A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax                                                             2,8

                                                                            ❑      A6112 Other Enforcement of Judgment Case                                                                                  2, 8, 9


                                     RICO (27)                              ❑      A6033 Racketeering (RICO) Case                                                                                            1, 2, 8


                                                                            ❑     A6030 Declaratory Reiief Only                                                                                              1, 2, 8

                              Other Complaints                              ❑      A6040 Injunctive Relief Only (not domestic/harassment)                                                                    2,8
                          (Not Specifled Above) (42)                       ❑       A6011 Other Commercial Complalnt Case (non-tort/non-complex)                                                              1, 2, 8

                                                                            ❑      A6000 Other Civil Complaint (non-tort/non-complex)                                                                        1, 2, 8

                           Partnership Corporation
                                                                            ❑      A6113 Partnership and Corporate Govemance Case                                                                            2.8
                              Governance (21)

                                                                           ❑       A6121 Civil Harassment With Damages                                                                                       2, 3, .9

                                                                            ❑      A6123 Workplace Harassment With Damages                                                                                   2, 3, 9

                                                                            0A6124 Elder/Depende nt Adult Abuse Case With Damages                                                                            2, 3, 9
                             Other Petitions (Not
                            Specified Above) (43)                           ❑      A6190 Electlon Contest                                                                                                    2
                                                                            ❑      A6110 Petition for Change of NamelChange of Gender                                                                        2,7
                                                                            ❑      A6170 Petition for Relief from Late Claim Law                                                                             238

                                                                            ❑      A6100 Other Civil Petition                                                                                                2. 9




                                                                           CIVIL CASE COVER SHEET ADDENDUM                                                                                            Locai Rule 2.3
     LASC CIV 109 Rev. 12/18
                                                                              AND STATEMENT OF LOCATION                                                                                                      Page 3 of 4
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 SHORT TITLE: Certain Underwriters at Lloyd's, London sub. lo Pol. Nos. LSI 200432 and LSI 300125 a/s/o Timolhy      CASE NUMBER
              McPartlln el al. v. Southern Callromla Edison Company al al.




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
         type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
         (No address required for class action cases).

                                                                                             ADDREBS:
    REASON:                                                                                                           2244 Walnut Grove Avenue
     111.02. ❑ 3, ❑ 4.C15.06.07. 218.0 9.010. ❑ 11.



    CITY:                                                 STATE:        I   ZIP CODE:


   Rosemead                                               CA            191770

Step 5: Certification of Assignment: I certify thatthis case is properly filed in the Central                         District of
         the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: Jan.uary 13, 2020
                                                                                                                  (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

        1. Original Complaint or Petition.

        2,     If filing a Complaint, a completed Summons form for issuance by the Clerk.

        3. Civil Case Cover Sheet, Judicial Council form CM-010.

        4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
           02/16).
        5.     Payment in full of the filing fee, unless there is court orderfor waiver, parqal or scheduled payments,

        6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
           minor under 18 years of age will be required by Court in order to issue a summons.

        7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
           must be served along with the summons and complaint, or other initiating pleading in the case.




                                                        CIVIL CASE COVER SHEET ADDENDUM                                                              Local Rule 2.3
  LASC CIV 109 Rev, 12/18
                                                           AND STATEMENT OF LOCATION                                                                   Page 4 of 4
  For Mandatory Use

                                                                                                                                                 Exhibit K, Page 778
                       Case 2:20-cv-00597-PSG-RAO Document 1-12 Filed 01/21/20 Page 7 of 46 Page ID #:795



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                          .; Ptain#iffi must file this covecstleetwith the f;tsi. paperfiled irt the actloh: or proceeding (exceptsiiiall claims cases orcases;flied;
                             under the Prabate Code, Pam11y, Gade, or We.lfare.and instifufinns Code). (CaL: Ruies of Caurt,: ruie 3 220::) Feiiurz to file may'result. '
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                          • File.this cc.uersh.eet in additionto, any cover sheet required by local court rUlei;
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Case 2:20-cv-00597-PSG-RAO Document 1-12 Filed 01/21/20 Page 8 of 46 Page ID #:796

                                                                                                                                      CM-010
                                 INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases fi{ed. You must compiete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper fiied in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or moneywas acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of reai property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A ruie 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under ruie 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. lf a piaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may fiie and serve no later than the time of its first appearance a joinder in the
piaintifPs designation, a counter-designation that the case is not compiex, or, if the piaintiff has made no designation, a designation that
the case is complex.
                                                           CA$E TYPES AND EXAMPLES
Auto Tort                                        Contract                                         Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)             Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                          Antitrust/Trade Regulatlon (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Constr4ction Defect (10)
           case involves an uninsured                            or wrongfu! eviction)                   Claims Invoiving Mass Tort (40)
          motorist claim subject to                      ContractlWarranty Breach—Seller                 Securlties Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)         Environmental/Toxic Tort{30)
          instead ofAuto)                                Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                             Wan•anty                                         (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract(Warranty                    case type listed above) (41)
Tort                                                Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Properry Damage                       Collection Case—Seller Piaintiff                     Abstract of Judgment (Out of
          Asbestos Personal injury/                      Other Promissory Note/Collections                          County)
                Wrongful Death                                Case                                            Confession of Judgment (non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                           domestic relations)
          toxiclenvironmental) (24)                      complex) (18)                                        Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                     Administrative Agency Award
          Medical Malpractice—                           Other Coverage                                           (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                      Petitlon/Certificatlon of Entry of
          Other Professional Health Care                 Contractual Fraud                                        Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                               Other Enforcement of Judgment
                                                 Real Property                                                      Case
     Other PI/PD/WD (23)
          Premises Liabil[ty (e.g., slip            Eminent   Domain/Inverse                       Miscellaneous       Civil Complaint
                and fall)                                Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PDNVD           Wrongful Eviction (33)                               Other Complaint (not specified
                                                                                                              above) (42)
                (e.g., assault, vandal(sm)           Other Real Property (e.g., quiet title) (26)
          Intentional lnfliction of                                                                           Declaratory Relief Only
                                                         Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                       harassment)
          Negligent Infliction of                        Quiet Titie
                Emotional Distress                                                                            Mechanics Lien
                                                         Other Real Property (not eminent
          Other PI/PD/WD                                                                                      Other Commercial Complaint
                                                         domain, landiorditenant, or                                Case (non-tort/non-complex)
Non•PI/PDlWD (Other) Tort                                foreclosure)
                                                                                                              Other Civil Complaint
     Business Tort/Unfair Business               Uniawful Detainer                                                 (non-tort/non-complex)
        Practice (07)                               Cvmmercial (31)
                                                                                                   Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                   Drugs (38) (if the case involves lllegal                  Govemance (21)
          harassment) (08)                               drugs, check this item; otherw/se,              Other Petition (not specified
     Defamatlon (e.g., slander, libel)                   report as Commercial or Residential)                 above) (43)
           (13)                                  Judicial Review                                              Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                     Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                       Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (02)                                            Abuse
         Legal Malpractice                               Writ—Administrative Mandamus                         Election Contest
         Other Professional Malpractice                  Writ—Mandamus on Limited Court                       Petition for Name Change
             (not medical or legal)                          Case Matter                                      Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                       Writ—Other Limited Court Case                              Claim
Employment                                                   Review                                           Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal—Labor
                                                            Commissloner Appeals
CM-010[Rev.July1,2o071                                                                                               '           •      Pegezofz
                                                    CIVIL CASE COVER SHEET



                                                                                                                         Exhibit K, Page 780
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M    u




                                      VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                           ,9A           The Early Organizational Meeting Stipulation, Discovery .
                                      Resoiution Stipulation, and Motions in Limine Stipulation are
      Superior Court of California
      County of Los Angeles
                                      voluntary stipulations entered into by the parties. The parties
                                      may enter into one, two, or all three of the stipulations;
                                      however, they may not after the stipulations as written,
                                      because the Court wants to ensure uniformity of application.
         Los Angeles County
         BarAssociation               These stipulations are meant to encourage cooperation
         Lltigation Section

         Los Angeles County
                                      between the paCties and to assist In resolving ISsues In a
         Bar Association Lahor and
         Employment Law Sect7on       manner that promotes economic case resolution and judicial
                                      efficiency.
            ~~ _,r•,, }~.i:,,~:
                                         The following organizations        endorse the goal of
         Consumer Attorneys
         Association of Los Angeles   promoting efficiency in litigation and ask that counsel
                                      consider using these stipulations as a voluntary way to
                                      promote communications and procedures among counsel
                                      and with the court to fairly resolve issues in their cases.

                                      *Los Angeles County Bar Association Litigation Section0
         Southern Caiifornia
         Defense Counsel
                                                ♦Los Angeles County Bar Association
                                                    Labor and Employment Law Section♦

         Association of
         BusinessTrial Lawyers            *Consumer Attorneys Associatiion of Los Angeles♦


                                                ♦Southern California Defense Counsel0


                                               *Association of Business Triai Lawyers+
         Cailfornia Employment
         LawyersAss°ciati°n                ♦Caiifornia Employment Lawyers Association♦

             LACIV 230 (NEW)
             LASC Approved 4-11
             For Optlonal Use

                                                                                              Exhibit K, Page 781
     Case 2:20-cv-00597-PSG-RAO Document 1-12 Filed 01/21/20 Page 10 of 46 Page ID
                                       #:798



NAME ANO ADDRESS OF ATTORNEY OR PART'/ W{THOUT ATTORNEY:              I STATE BAR NUMBER   I   RcseNed fu, CIvKs Fda Strsmp




          TELEPHONE NO.:                                   FAX NO. (OpGonal):
 E-MAIL AODRESS (Oplional):
    ATTORNEYfOR ame:
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES




            STIPULATION - EARLY ORGANIZATIONAL MEETING

       This stipulation is intended to encourage cooperation among the parties at an early stage in
       the litigation and to assist the parties in efficient case resolution.

       The parties agree that:
       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
           videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
           whether there can be agreement on the follovtring:
             a. Are motions to challenge the pleadings necessary? lf the issue can be resolved by
                amendment as of right, or if the Court would allow leave to as'nend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pteading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?           -

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the empfoyment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair .or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;
             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;
             f. Controlling issues of iaw that, if resolved early, will promote efficiency and economy in other
                phases of the case. Also, when and how such issues can be presented to the Court;
             g. Whether or when the case should be scheduled with a settlement ofFicer, what discovery or
                court ruiing on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sifting judge or a private mediator or other options as
       LACIV 229 (Rev 02/15)
       tASC Approved 04/11               STIPULATION — EARLY ORGANlZATIONAL MEETING
       For Optional Use                                                                                               Page 1 of 2



                                                                                                       Exhibit K, Page 782
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                                  #:799

 SHORT TITIE:                                                                     CASE NUMBER_




                discussed in the "Alternative Dispute Resolution (ADR) lnformation Package" served with the
                complaint;

       h. Computation of damages, including documents, not privileged or protected from disclosure, on
          which.such computation is based;

       i. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
          www.lacourt.org under "Civrf' and then under "General lnformation").
 2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                to                         for the complaint, and                            for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
                complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                been found by the Civil Supervising Judge due to the case management benefits provided by
                this Stipulation. A copy of the General Order can be found at www.lacourrt org under "Civif',
                click on "General Informafion", then click on "Voluntary Efficrent Lrfigafion Stipulafions".

 3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                and Early Organizationa! Meeting Stipulation, and if desired, a proposed order summarizing
                results of their meet and confer and advising the Court of any way it may assist the parties'
                efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                the Case Management Conference statement, and file the documents when the CMC
                statement is due.

 4.             References to "days" mean calendar days, unless otherwise noted. If the date for petforming
                any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                for performing that act shall be extended to the next Court day

 The following parties stipulate:
 Date:
                                                                 >
                   (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
 Date:
                                                                 >
                   (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDA
 Date:
                                                                 )-e
                   (TYPE OR PR1NT NAME)                                     (ATTORNEY FOR DEFENDA
 Date:
                                                                 9

                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:
                                                                 3;1
                   (TYPE OR PRINT NAME)                                (ATTORNEY FOR                            )
 Date:
                                                                 ~

                   (TYPE OR PRINT NAME)                                (ATTORNEY FOR                            )
 Date:
                                                                 >
                   (TYPE OR PRINT NAME)                                (ATTORNEY FOR                            )


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               0411 i          STIPULATIION — EARLY ORGANIZATIONAL MEETING                                Page 2 of 2


                                                                                                 Exhibit K, Page 783
    Case 2:20-cv-00597-PSG-RAO Document 1-12 Filed 01/21/20 Page 12 of 46 Page ID
                                      #:800


NAME ANqAOCRESS OF ATTORfJEYOR PARTY WlTHOUT ATTORNEY:               { STATE BAR NUMBER   I   Reeerved far Clerk's PVe StnmP




          TELEPHONE NO.:                                 FAX NO. (Optlonal):
 E-MAIL ADaRESS (Optlonal):


I SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES I



0



                    STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.
                                                                                  (

       The parties agree that:

       1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
          the moving party first makes a written request for an Informal Discovery Conference pursuant
          to the terms of this stipulation.

       2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
          and determine whether it can be resolved informally. Nothing set forth herein will preclude a
          party from making a record at the conclusion of an Informal Discovery Conference, either
          orally or in writing.

       3. Following a reasonable .and good faith attempt at an informal resolution of each issue to be
          presented, a party may request an Informal Discovery Conference pursuant to the following
          procedures:

                  a. The party requesting the Informal Discovery Conference will:

                             File a Request for Informal Discovery Conference with the clerk's office on the
                             approved form (copy attached) and deliver a courtesy, conformed copy to the
                             assigned department;

                     ii.      Include a brief summary of the dispute and specify the relief requested; and

                    iii.. Serve the opposing party pursuant to any authorized or agreed method of service
                           that ensures that the opposing parky receives the Request for Informal Discovery
                           Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                              Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;

       IASCApprovedd4/11                       STIPULATION — DISCOVERY RESOLUTION
       For Optional Use                                                                                               Page 1 of 3



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 SHORT TITLE:                                                                   CASE Nt1MBER:




                 iii.   Be filed within two (2) court days of receipt of the Request; and

                 iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                        method of service that ensures that the opposing party receives the Answer no
                        later than the next court day following the filing.

       c. No other pleadings, including but not limited to exhibits, declarations, or attachments, wiil
           be accepted.

                If the Court has not granted or denied the Request for Informal Discovery Conference
                within ten (10) days following the filing of the Request, then it shall be deemed to have
                been denied. If the Court acts on the Request, the parties will be notified whether the
                Request for Informal Discovery Conference has been granted or denied and, if granted,
                the date and time of the Informal Discovery Conference, which must be within twenty (20)
                days of the filing of the Request for Informal Discovery Conference.

       e. (f the conference is not held within twenty (20) days of the filing of the Request for
           Informal Discovery Conference, unless extended by agreement of the parties and the
           Court, then the Request for the Informal Discovery Conference shall be deemed to have
           been denied at that time.

 4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
    without the Court having acted or (c) the Informal Discovery Conference is concluded without
    resolving the dispute, then a party may file a discovery motion to address unresolved issues.

 5. The parties hereby further agree that the time for making a motion to compel or other
    discovery motion is tolled from the date of filing of the Request for lnformal Discovery
    Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
    filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
    by Order of the Court.

       It is the understanding and intent of the parties that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing a"specific later date to which
       the propounding (or demanding or requesting] party and the responding party have agreed in
       writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
       2033.290(c).

 6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
    an order shortening time for a motion to be heard concerning discovery.

 7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
    terminate the stipulation.

 8. References to "days" mean calendar days, unless otherwise noted. If the.date for performing
    any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



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 LASCApproved 04/11               STIPULATION — DISCOVERY RESOLUTION
 For Optional Use                                                                                       Page 2 of 3



                                                                                                Exhibit K, Page 785
     Case 2:20-cv-00597-PSG-RAO Document 1-12 Filed 01/21/20 Page 14 of 46 Page ID
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      SHORT TffLE:                                                     CA32 NUM1I6ER:




      The following parties stipulate:

      Date:
                                                        y
                     (TYPE OR PRINT NAME)                            (ATTORNEY FOR PIAINTIFF)
      Date:
                                                        ~
                     (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
      Date:
                                                        Y'
                     (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
      Date:
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                     (TYPE OR PRINT NAME)                    (ATTORNEY FOR                           )

      Date:
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                     (TYPE OR PRINT NAME)                    (ATTORNEY FOR                           )




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         Case 2:20-cv-00597-PSG-RAO Document 1-12 Filed 01/21/20 Page 15 of 46 Page ID
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    NAME AND ADDRE5.4 OF ATTORNEY OR PARTY W(THOUT ATTORNEY;                STATE aAR NF1MB£R                         Reserved rm Cterk'a Fle 31amp




             TELEPHONE NO.:                                    FAX NO. (OpHonal):
     E-MAILADDRESS (Optional):

I SUPERIOR COURT OF CALIFORNlA, COUNTY OF LOS ANGELES I




                                                                                                          I+AJC NUMCCR:                                   I
~                         iNFORMAL DISCOVERY CONFERENCE
                    (pursuant to the Discovery Resolution Stipulation of the parties)                                                                     1
           1: This document relates to:
                   ❑    Request for Informal Discovery Conference
                   ❑    Answer to Request for lnformai Discovery Conference
           2.    Deadline for COurt to decide on Reql.lest:                                      (insert date 10 catendar days following filing of
                 the Request).

           3. Deadline for Court to hold Informal Discovery Conference:                                                   (insert date 20 Dalendar
                 days following filing of the Request).
           4. For a Request for (nformal Discovery Conference, briefly describe the nature of the
               discovery dispute, inciuding the facts and legal arguments at issue. For an Answer.to
               Request for Informal Discovery Conference, briefiv describe why the Court should deny
              --... .requested
               the                  discoy,
                      ---...... ... __....       iiuding
                                           ver ._.... nc the facts and
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            LAclvos4(new)                            INFORMAL DISCOVERY CONFERENCE
            LASC Approved 04/11
            For Optional Use                   (pursuant to the Discovery Resolution Stipulation of the partie.$)


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    NAfitEANO ADORESS OF A7YORNEY OR PARTY WRHOUT ATTORNEY:               I   S1ATE 6AR NUMeER   I   Reserved for ClerKs Flle Slamp




              TELEPHONE NO.:                                  FAX NO. (Optfonal):
     E-MAIL ADDRESS (Optional):

    I SUPERIOR COURT OF CALII=ORNIA, COUNTY OF LOS ANGELES 1




                   STIPULATION AND ORDER— MOTIONS IN LIMINE


           This stipulation is intended to provide fast and informal resolution of evidentiary
           issues through diligent efforts to define and discuss such issues and timit paperwork.


           The parties agree that:

           1. At least      days before the final status conference, each party will provide all other
              parties with a list containing a one paragraph explanation of each proposed motion in
              limine. Each one paragraph explanation must identify the substance of a single proposed
              motion in limine and the grounds for the proposed motion.

           2. The parties thereafter will meet and confer, either in person or via teleconference or
              videoconference, concerning all proposed motions in iimine. In that meet and confer, the
              parties will determine:

                 a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                    stipulate, they may fle a stipulation and proposed order with the Court.

                 b. Whether any of the proposed motions can be briefed and submitted by means of a
                    short joint statement of issues, For each motion which can be addressed by a short
                    joint statement of issues, a short joint statement of issues must be filed with the Court
                    10 days prior to the final status conference. Each side's portion of the short joint
                    statement of issues may not exceed three pages. The parties will meet and confer to
                    agree on a date and manner for exchanging the parties' respective portions of the
                    short joint statement of issues and the process for filing the short joint statement of
                    issues.
            3. AII proposed motions in limine that are not either the subject of a stipulation or briefed via
               a short joint statement of issues will be briefed and filed in accordance with the California
'               Rules of Court and the Los Angeles Superior Courk Rules.



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            For Optlonal Use                                                                                                 Page 1 of 2



                                                                                                              Exhibit K, Page 788
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 The following parties stipulate:

 Date:
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                (TYPE OR PRINT NAME)                       (ATTORNEY FOR PLA1NTfFF)
 Date:
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                (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
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                (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
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                (TYPE OR PRINT NAME)                  (ATTORNEY FOR                           )
 Date:
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                (TYPE OR PRINT NAME)                  (ATTORNEY FOR                           )
 Date:
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                (TYPE OR PRINT NAME)                  (ATTORNEY FOR                           )



 THE COURT SO ORDERS.

    Date;
                                                                JUDICIAL OFFICER




 LACN 075 (new)
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                              Superior Court of California, County of Los Angeles




    What is ADR?
    ADR heEps people find solutions to their legal disputes without going to triai. The main types of ADR are negotiation,
    mediation, arbitration and settlement conferences. When ADR is done by phone or computer, it may be called Onfine
    Dispute Resolution (ODR). These "alternatives" to litigation and trial are described below.


    Advantaf;es of ADR
         •    Saves Time: ADR is faster than going to trial.
         •    Saves Money: Parties can save on court costs, attorney's fees and witness fees.
         •    Keeps Contro) with the parties: Parties choose their ADR process and provider for voluntary ADR.
         •    Reduces stress/protects privacy: ADR is done outside the courtroom, in private offices, by phone or online.

    Disadvantaees of ADR
         •    Costs: If the parties do not resoive their dispute, they may have to pay for ADR and litigation and trial.
         •    No Public Tria1: ADR does not provide a pubfic trial or a decision by a judge or jury.

    Main Types of ADR:

         1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
            settlement agreement instead of a trial. if the parties have lawyers, they wilE negotiate for their clients.

         2. Mediation: In mediation, a neutral "mediator" listens to each person's concerns, helps them evaluate the
            strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
            acceptable to all. Medlators do not decide the outcome. Parties may go to trial if they decide not to settle.

                          Mediation may be appropriate when the parties
-                           • want to work out a solution but need help from a neutral person.
                            • have communication problems or strong emotions that interfere with resolution.
                          Mediation may not be appropriate when the parties
                                •     want a public trial and want a judge or jury to decide the outcome.
                                •     fack equal bargaining power or have a history of physicaf/emotional abuse.

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    For Mandatory Use
    California Rules of Court, rule 3.221




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         3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
            person who decides the outcorne. In "binding" arbitration, the arbitrator's decision is final; there is no right to
            trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
            information about arbitration, visit http://www.courts.ca.r;ov/programs-adr.htm

         4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the trial
               date. The parties and their attorneys meet with a judge or settlement officer who does not make a decision but
               assists the parties in evaluating the strengths and wealcnesses of the case and in negotiating a settlement.
               For information about the Court's MSC programs for civil cases, visit: www.lacourt.orQ/division/civil/settlement




    Los Angeles Superior Court ADR website: www.lacourt.org/division/civil/settlement
    For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm




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    For Mandatory Use
    California Rules of Court, rule 3.221




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                     1          NOW COME Plaintiffs Certain Undei-wniters of Lloyd's, London ("Underwriters")

                     2   Subscribing to Policy No. LSI 200432 (the "Policy"), as subrogees of Timothy and Joanna

                     3   McPartlin (tlie "McPartlins") and Malcan Delrahim ("Delralum", collectively with the McPai-tlins,

                     4   the "Insureds"), by and through their counsel, Higgs Fletclier Macic, LLP and Skierslci Jain PLLC

                     5   (pi^o hae vice admission to be sought), and hereby respectfully allege and state as follows:

                     6                                                     I.

                     7                                                PARTIES

                     8          1.      Underwriters are an unincorporated association of persons or entities in the business

                     9   of subscribing to, underwriting, or issuing policies of insurance.          Though the individual ~

                 10      Underwriters subscribing to the Policy may be located throughout the world, including California, I

                 11      the lead Underwriter's principal place of business is in London, England. For the purpose of this I

                 12      action only, Underwriters may be contacted through Skierslci Jain PLLC at 400 North Saint Paul

                 13      Street, Suite 510, Dallas, Texas 75201.

                 14             2,      Upon information and belief, at all times relevant to this action, Southern California

                 15      Edison Company ("SoCal") was a business entity dLily formed and authorized in California and has

                 16      its principal place of business in Los Angeles, Califomia. S CE is a utility company pursuant to §§

                 17      218(a) and 216(1) of the California Public Utilities Code. SCE is in the business of providing

                 18      electricity to the residents of Ventura and Los Angeles Counties through a networlc of electrical

                 19      transmission and distribution lines, and infrastructure.

                 20             3,      Upon information and belief, at all times relevant to this action, Edison International

                 21      ("Edison", together with SoCal, "SCE") was a business entity duly formed and authorized in

                 22      California and has its principal place of business in Los Angeles, California.

                 23             4.      SCE were, at all times relevant to this Complaint, corporations authorized to do
                 24      business and doing business in the State of California with their principal place of business in Los

                 25      Angeles, California. Edison is an energy-based holding cornpa.ny headquartered in Rosemead,
                 26      California. It is the parent company of SoCal. SCE provide public utility services, including the
                 27      generation of electricity and the transmission and distribution of electricity and natural gas to
              28 1 millions of customers. SCE, at all times relevant to this Complaint, owned, and currently own,
HIGGS FLETCHER Bc  9441696.1                                     `Z
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                                                                     COMPLAINT
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                      1   operate, and maintain certain electrical transmission and distribution lines and are and were at all

                      2   relevant times in the business of providing electricity in southern California, including in Los

                      3   Angeles and Ventura Counties where the Insureds maintained their real and personal property. SCE

                      4   is and was by law vested with authority to exercise, in the name of the aforesaid entity, the power

                      5   to acquire property by eminent domain pursuant to the provisions of Public Utilities Code § 612

                      6   and CALIFORNIA CODE OF CIVIL PROCEDURE ("CCP") §§ 1230.010, 1240.110, and 1240.120, et

                      7   seq.

                      8               5.      Underwriters allege that Edison and SoCal are jointly and severally liable for each

                      9   other's wrongful acts and/or omissions as here after alleged, in that:

                  10                       a. Edison and SoCal operate as a single business enterprise operating out of the same

                  11                          building for the purpose of effectuating and carrying out Edison's business and

                  12                          operations and/or for the benefit of Edison;

                  13                       b. SoCal and $dison do not operate as completely separate entities, but rather, integrate

                  14                          their resources to achieve a common business purpose;

                  15                       c. SoCal is so organized and controlled, and its decisions, affairs and business so

                  16                          conducted as to make it an instrnmentality, agent, conduit and/or adjunct of Edison;

                  17                       d. SoCa1's and Edison's officers and management are intertwined arid do not act

                  18                          completely independent of one another;

                  19                       e. SoCal's income contributions result from its function, integration, centralization of

                  20                          management and economies of scale with Edison;

                  21                       f. SoCal's and Edison's officers and managers act in the interest of Edison as a single

                  22                          enterprise;

                  23                       g. Edison has control and authority to choose and appoint SoCal's board members as

                  24                          well as its other top officers and managers;
                  25                       h. Despite both being electric companies and public utilities, SoCal and Edison do not
                  26                          compete with one another, but have been structured, orgatuzed, and their business

                  27                          is efPectuated so as to create a synergistic, integrated single enterprise where various

                 28                           components operate in concert with one another;
HIGGS FLETCHER &          9441696.1                                          3
   MACK LLP
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                     1              i. Edison maintains unified administrative control over SoCal;                              I
                     2              j. SoCal and Edison are insured by the same carriers and provide uniform or similar

                     3                 pension, health, life and disability insurance plans for employees;
                     4              lc. SoCal and Edison have unified 401(lc) Plans, pensions and investment plans, bonus

                     5                 programs, vacation policies in paid time off from worlc scliedules and"policies;

                     6              1. SoCal and Edison invest funds froin their programs and plans by a consolidated

                     7                 and/or coordinated Benefits Comrnittee controlled by Edison and administered by

                     8                 common trustees and administrators;

                     9              m. SoCal and Edison have unified personnel policies and practices and/or a

                 10                    consolidated personnel organization or structure;

                 11                 n. SoCal and Edison have unified accounting policies and practices dictated by Edison

                 12                    and/or common or integrated accounting organizations or personnel;

                 13                 o. SoCal and Edison are represented by common legal counsel;

                 14                 p. Edison's officers, directors, and other manageinent make policies and decisions to

                 15                    be effectuated by SoCal and/or otherwise play roles in providing directions and !

                 16                    making decisions for SoCal;

                 17                 q. Edison's officers, directors, and other management direct certain fmancial decisions I

                 18                    for SoCal including the amount and nature of capital outlays;

                 19                 r. Edison's written guidelines, policies, and procedures control SoCal, its employees,

                 20                    policies, and practices;

                 21                 s. Edison files consolidated earnings statements factoring a11 revenue and losses from

                 22                    SoCal as well as consolidated tax returns, including those seeking tax relief; and/or,

                 23                    without limitation; and

                 24                 t. Edison generally directs and controls SoCal's relationship with, requests to, and

                 25                    responses to inquiries from, the Public Utilities Commission and uses such direction
                 26                    and control for the benefit of Edison.

                 27            6.      The true names and capacities, whether individual, corporate, associate, or

                 28      otherwise of the Defendants Doe 1 through 50, inclusive, are unlcnown to Underwriters, who
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    MACx LLP
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                  1 therefore sue said Defendants by such ffctitious names pursuant to CCP § 474. Each of the '

                  2   fictitiously named Defendants is responsible in some manner for the conduct alleged herein, '

                  3   including, without limitation, by way of conspiracy, aiding, abetting, fi.irnishing the ineans and/or

                  4   acting in capacities that create agency, respondent superior, and/or predecessor- or successor-in-

                  5   interest relationslups with the Defendants. The Doe Defendants are private individuals,

                  6   associations, partnerships, corporations, or other entities that actively assisted and participated in

                  7   the negligent and wrongful conduct alleged herein in ways that are currently unknown to

                  8   Underwriters. Some or all of the Doe Defendants may be residents of the State of California.

                  9   Underwriters may arnend or seek to amend this Corriplaint to allege the trtte names, capacities and

                 10   responsibilities of these Doe Defendants once they are ascertained, and to add additional facts and

                 11   legal theories. Underwriters inalce all allegations contained in this Complaint against a11

                 12   Defendants, including Does 1 through 50 who are not yet known, Underwriters sue said Defendants

                 13   Does 1 through 50 by such fictitious names pursuant to CCP § 474.

                 14          7.     The Boeing Company ("Boein ") was, at all times relevant to this Complaint, a

                 15   Delaware Corporation registered to and doing business in the State of California. Boeing owns,

                 16   operates, manages, controls, maintains, and is responsible for the Santa Susana Field Laboratory

                 17   site ("SSFL") located in Ventura County where the Woolsey Fire originated. Boeing does business

                 18   in the counties of Venttira and Los Angeles, California.

                 19                                                   n,


                 20                                     JURISDICTION & VENUE
                 21          8.     The Court exercises general subject matter jurisdiction in all civil matters.

                 22          9.     The Court exercises general personal jurisdiction with respect to SCE, Boeing, and

                 23   Does 1-50 (collectively, "Defendants") because each of the acts and omissions described herein

                 24   occurred within Los Angeles County, California. Furthermore, SoCal, Edison, and Boeing are
                 25   corporations which at all times relevant to this Complaint conducted business and have primary
                 26   offices within Los Angeles County, California and/or do significant business in Los Angeles
                 27   County. Moreover, the Southern Califomia Fire Cases, JCCP 4965, is pending in tlus Court. The

                 28   amount in controversy exceeds the jurisdictional minimum of this Court.
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                     1          10.         Venue is proper pursuant to CCP § 395 because (i) Defendants conducted and
                     2   conduct business within Los Angeles County, California; and (ii) certain events giving rise to this
                     3   action occui-red within Los Angeles County, California. The venue is convenient to SCE and
                     4   Boeing. Moreover, the Woolsey Fire cases are consolidated in Los Angeles County.

                     5                                                  III.
                     6                          STATEMENT OF MONETARY RELIEF SOUGHT
                     7          11.     Underwriters seek only inonetary relief in an amount no less than $2,481,971.15,
                     8   plus penalties, costs, expenses, prejudgment interest, post judgment interest and, if applicable,
                     9   attorneys' fees.
                  10                                                    IV.
                  11                                       CONDITIONS PRECEDENT
                  12            12.     All conditions precedent to the filing of this Complaint or Underwriters' recovery
                  13     have been satisfied.
                  14                                                    V.
                  15         ANTICIPATED ADDITIONAL PLAINTIFFS AND COORDINATION HEARING
                  16            13.     On information and belief, many lawsuits have been filed by parties in Los Angeles
                  17     County Superior and Ventura County Superior Court. All pending suits will be part of a JCCP
                  18     hearing.
                  19                                                    Vi,
                  20                                               SUMMARY
                  21            14.     Pursuant to the Policy, Underwriters paid for damages caused to their Insureds
                  22     arising fiom the destruction and/or damage to property caused by a fire that began at approximately
                  23     2:24 p.m. on November 8, 2018 near the Chatsworth Substation owned by SCE, located on property
                  24     owned by Boeing, near Woolsey Canyon. This fire is commonly known as the "Woolsey Fire"
                  25     (sometimes referred to as the "Fire"). No less than three people died in the Fire, which burned
                  26     approximately 96,949 acres, destroying approximately 1,643 structures and prompting the
                  27     evacuation of more than 295,000 people. The Fire impacted the lives of hundreds of thousands of
                  28     residents in the Ventura and Los Angeles areas, including the Insureds.
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                      1           15.    SCE enjoys a monopoly which is allowed by law to provide power to consumers

                      2   and comrnercial users within Los Angeles and Ventura Counties. As a monopoly, SCE is insulated

                      3   fiom all competition within their area of operation, is guaranteed a rate of return on all of their

                      4   capital—typically more than 300% the rate of return provided by United States Treasury Bonds—

                      5   and is generally acknowledged to be one of the most lucrative investments on Earth. In exchange

                      6   for their >nonopoly status and guaranteed rate of return, SCE has to do only two things in connection

                      7   with the delivery of their product: (1) maintain their equipment in safe operating condition; and (2)

                      8   ensure that their lines do not come into contact with each other, other parts of their infrastructure,

                      9   and/or trees and vegetation. The Fire started because SCE failed to do either.

                  10              16.   At all times relevant to this Complaint, Boeing owned, leased, operated, and/or was

                  11      responsible for maintaining the SSFL, a 2,668-acre complex in Su-ni Valley, California. Boeing

                  12      assumed the responsibility for protecting Plaintiffs and the Insureds from rislcs associated with the

                  13      SSFL premises wlien it entered into, published, and induced reasonable reliance upon its

                  14      Emergency Readiness Plan. "[Emergency preparedness and readiness at Santa Susana Field

                  15      Laboratory (SSFL) is main.tained at a level commensurate with the hazards." (Boeing 2008 SSFL,

                  16      Area IV Emergency Readiness Assurance Plan (ERAP) BD02-399-05).

                  17             17.    Prior to the outbrealc of the Woolsey Fire, the rislc of wildfire was or should have

                  18      been well-known to Defendants and to others in the area of SSFL. Among other things, the

                  19      vegetation and weather in the area was especially conducive to wildfire. Dense, dry vegetation was

                  20      prominent in the area, and the Santa Ana winds were active. It is well known that the Sa.nta Ana

                  21      winds are especially conducive to wildfires, as the strong, dry, and wartn winds are known to reduce

                  22      humidity and moisture in soil a.nd vegetation. The Santa Ana winds occur annually, malcing the

                  23      risks they pose readily foreseeable. Moreover, at the time of the Woolsey Fire, Defendants were

                  24      or should have been aware that the State of California was still recovering from its longest recorded

                  25      drought, which lasted from 2011 to 2017. At all relevant times, many areas of the State remained

                  26      in moderate to severe drought conditions, as was known or should have been known to Defendants.

                  27             18.    On information and belief, the Woolsey Fire was caused by: (1) electrical

                  28      infrastructure owned, designed, constructed, operated and maintained by SCE coming into contact
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                     1   with vegetation inspected and maintained by SCE; (2) power lines owned, designed, constructed,
                     2   operated and maintained by SCE coming into contact with one another causing a sparlc and resulting
                     3   fire to the surrounding vegetation; and/or (3) the Defendants' negligent failure to maintain
                     4   vegetation with prescribed California regulations and law concerning vegetation clearance from
                     5   power lines and electrical infrastrticture.

                     6                                                     VII.

                     7                                       FACTUAL BACKGROUND
                     8               19.   Underwriters incorporate by reference as if fully stated herein each of the facts,
                     9   statements, and allegations contained at paragraphs 1 tllrough 18 above.
                 10                  20.   On November 6, 2018, days before the Woolsey Fire began, a Red Flag Warning
                 11      was issued by the National Weather Service in Ventura County, the Los Angeles County Mountains
                 12      and the San Fernando and Santa Clarita Valleys. The Santa Ana high winds in combination with
                 13      dry vegetation due to the dry conditions in Southern California caused the Fire to quickly spread,
                 14      causing widespread outages and evacuations in the Ventura and Los Angeles areas.
                 15                  21.   SCE was aware of the risk and chose to ignore the warning and not de-energize any
                 16      of its electrical circuits in the surrounding areas prior to the fire.
                 17                  22.   The power lines and all associated electrical and distribution equipment (the "Power
                 18      Lines") located in the areas of origin were, at all times relevant to this Complaint, owned, operated,
                 19      controlled and/or maintained by SCE. The Power Lines were the origin of the Fire.
                 20                  23.   Upon information and belief, the Fire had one ignition on property owned by Boeing
                 21      and another ignition on property owned by NASA. Both properties were located near the
                 22      Chatsworth Substation. There was an electrical fault that is associated with an energized 16kV
                 23      power line called the "Big Rocic" circuit, and this fault was associated with other failures on the
                 24      electrical facilities within a qua.rter mile. The fault is believed to be associated with a steel pole that
                 25      carried transmission voltage and also had communication lines attached to it.
                 26                  24.   Boeing also knew of the wildfire risk in and around SSFL. The SSFL has been the
                 27      affected by wildfires ui the past, including in 2005. Boeing maintained and employed a private fire
                 28      suppression unit due to these risks. However, after the Woolsey Fire began, and it came time to
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                     1   protect the lives aiid property of otliers, public firefighters worlcing to contain the blaze had little to
                     2   no contact with Boeing's private fire suppression unit.

                     3               25.   Moreover, Boeing had knowledge that the SSFL is and, at all relevant times, was

                     4   severely contaminated due to multiple accidents with nuclear reactors, inchiding the worst nuclear
                     5   meltdown in US history, and years of rocicet testing and other research conducted by Boeing and

                     6   others. This increased the rislc of and from wildfire   on   the property in a way that was well known

                     7   to Boeing.

                     8               26.   Boeing failed to, among other tlungs, (a) talce reasonable measures to prevent

                     9 wildfires from starting due to equipment it allowed on its prernises; (b) reasonably manage

                 10      vegetation on its premises; (c) reasonably train, equip, and deploy its own fire suppression unit to

                 11      combat wildfire that started on its premises; (d) allow outside fire suppression efforts reasonable
                 12      access to its premises; and/or to (e) talce other reasonable measures to reduce the risk of wildfire in

                 13      the face of the high, foreseeable ilsk of wildfire on its premises.

                 14                  27.   Upon information and belief, certain parties aligned with Underwriters sought, but

                 15      were unable to obtain, access from NASA or Boeing to conduct an inspection of the ignition sites,

                 16      while SCE used its easement rights to gain access and alter the areas. By the time said parties were

                 17      given legal access, among other things, there were new poles placed in Area of Origin 1("A001")

                 18      on the Boeing property in place of old poles, new jumpers replaced older equipment and new dead-

                 19      end insulators were installed. The second area of origin ("A002") is on property owned by NASA.

                 20      By tlle time the parties seelcing access were given access to A002, communication lines were cut

                 21      and removed. Upon information and belief, the removed equipment is related to the ignition at

                 22 A002.

                 23                  28.   On December 6, 2018, Edison, as required by law, sent a letter to the PUC outlining

                 24      the facts it lcnew regarding the Woolsey Fire (the "Edison Letter"). The Edison Letter noted that
                 25      the Fire started at 2:24 p.m., and that at 2:22 p.m. there was a disturbance on the Big Rock 161cV
                 26      Circuit. The letter stated in relevant part:

                 27                  On Novernber 8, 2018 at 2:22 p.m., under conditions of high winds and low
                 28                  humidity, with Red Flag Warning and System operating Bulletin 322 (reclosers in
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                      1            manual) in effect, the Big Rock 161cV circuit ("16IcV circuit") out of Cliatsworth

                      2            Substation relayed and was blociced frorn testing due to restraint on the recloser.

                      3           VCFD and CAL FIRE initially restrricted access to the property, but eventually

                      4           permitted SCE limited access primarily for the purpose of cooperating with their

                      5           investigation.

                      6          29.     Edison further stated that SCE found a guy wire in the proximity to a jtunper at a

                      7   steel pole. The timing of the electrical disturbance and the Fire's ignition malce it clear that the

                      8   events are related and that the Fire was of electrical origin.

                      9          30.     After the Fire ignited, fueled by the low humidity and the high winds, the Fire spread

                 10       rapidly. Due to the Fire's rapid spread, properties and structLtres could not be protected and were

                 11       destroyed.

                 12              31.     The Policy provided Underwriters, inter alia, the ability to pursLte the rights, claims,

                 13       causes of action, and other remedies against all persons or entities who may be liable for any loss

                 14       resulting from the disbursements, plus any costs, fees, interest or other amounts Underwriters may

                 15       be awarded. A copy of the documents evidencing the disbursements are attached hereto as "Exhibit

                 16       1(McPartlins)" and "Exhibit 2(Delrahim)" and incorporated by reference.

                 17              32.     Uriderwriters herein seelc reimbursement only of the disbursements. Underwriters

                 18       do not herein seelc reimbursement of amounts paid to or on behalf of the Insureds by any entity

                 19       pursuant to any insurance policy other than the Policy.

                 20              33.     Underwriters assert the following claims, rights, remedies, and causes of action

                 21       against Defendants cumulatively or in the alternative, whichever affords Underwriters the greatest

                 22       recovery.

                 23                                                       viu,


                 24                                          FIRST CAUSE OF ACTION
                 25                        (Inverse Conclemnation Pursuant to California Constitution
                                                  Article I, Section 19, as to SCE and Does 1-50)
                 26

                 27              34.     Underwriters incorporate by reference as if fully stated herein each of the foregoing
                 28       facts, statements, and allegations contained in paragraphs 1 through 33 above.                            I
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                      l               35,   On or around November 8, 2018, the Insureds owned real and/or personal property
                      2   located in areas burned by the Woolsey Fire.

                      3               36.   Prior to and on November 8, 2018, one or more of the Defendants installed, owned,

                      4   operated, used, controlled, and/or maintained Power Lines and other electrical equipment for the

                      5   public delivery of electricity, inchiding Power Lines in and around the location of_the Woolsey

                      6   Fire's ignition site(s).

                      7               37.   On or around November 8, 2018, as a direct result of SCE and Does 1-50's design,

                      8   installation, ownership, operation, use, control, management; and/or maintenance for a public use,

                      9 the Power Lines and/or other electrical equipment brolce, failed, fell, sparked, exploded, and/or

                  10      came in contact with vegetation causing wildfires a.nd a firestorm that burned thousands of acres,

                  11      including property owned or occupied by the Insureds. The Woolsey fire damaged or destroyed the

                  12      Insureds' real and/or personal property.

                  13                  38.   The above described damage to the Insureds' property was legally and substantially

                  14 caused by SCE and Does 1-50's actions in designing, installing, owning, operating, using,

                  15      controlling, managing, and/or maintaining the Power Lines and other electrical equipment for a

                  16      public use. SCE is a privately-owned public utility, which enjoys a state-protected monopoly or

                  17      quasi-monopoly, derived from its exclusive franchise provided by the State of California and is

                  18      more akin to a governmental entity tha.n a purely private entity, and runs its utility affairs like a'

                  19      governrnental entity. SCE's monopoly is guaranteed and safeguarded by the PUC, which possesses '

                  20      the power to refuse to issue certificates of public convenience and necessity to permit potential

                  21      competition to enter the market. The policy justifications underlying inverse condemnation liability '

                  22      are that individual property owners should not have to contribute disproportionately to the risks I

                  23 from public improvements made to benefit the community as a whole. Under the rules and
                                                                                                                                 I
                  24      regulations set forth by the PUC, amounts that Defendants must pay in inverse condemnation can
                  25      be included in their rates and spread among the entire group of SGE's rate payers, so long as they
                 26       are otherwise acting as a reasonable and prudent manager of their electric distribution systems.

                 27       ///
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                    1               39.   The Insureds and Underwriters have not received adequate compensation for the

                    2 I damage to and/or destruction of their property, thus constituting a taking or damaging of the

                    3 I Insureds' propei-ty by Defendants without just cornpensation.
                    4               40.   As a direct and legal result of Defendants' actions and/or omissions; the Insureds

                    5   suffered damages to his or their real and/or personal property, including loss of use, business

                    6 1 intei-ruption, interference with access, and/or diminution in value and/or marlcetability totaling

                    7   $2,481,971.15. As a result of said damages, Underwriters paid to the McPartlins no less than

                    8 $2,398,600.00 (the "McPartlins Disbursement") and Delrahim no less than $83,371.15 (the

                    9   "Delrahim Disbursement", collectively with the McPartlins Disbursement, the "Disbursements").

                10                  41.   As a direct and legal result of Defenda.nts' actions and/or omissions, Underwriters

                11 I and the Insureds have incui-red and will continue to incur costs, disbursements, and/or expenses,

                12 including reasonable attorney, appraisal, engineering, and/or other expert fees in amounts that

                13      cannot yet be ascertained, but which are recoverable pursuant to CCP § 1036.

                14                  42.   Underwriters, as subrogees of the Insureds, hereby demand an award in the arnount

                15      of no less than $2,481,971.15, plus all amounts recoverable pursuant to CCP § 1036.

                16                                                          L"
                17                                          SECOND CAUSE OF ACTION
                18                                         (Negligence, as to all Defendants)
                19                  43.   Underwriters incorporate by reference as if fully stated herein each of the foregoing

                20 I facts, statements, and allegations contained in paragraphs 1 through 42 above.

                21                  44.   Defendants, as owners and/or controllers of the Power Lines, were under a duty

                22      codified in California Civil Code § 1714(a), which states, in pertinent part:

                23                        Eveiyone is responsible, not only for the result of his or her willful

                24                        acts, but also for an injury occasioned to another by his or her want
                25                        of ordinary care or skill in the management of his or her property or
                26                        person, except so far as the latter has, willfnlly or by want of ordinary
                27                        care, brought the injury upon himself or herself.

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                     1                   45.      Specifically, Defendants had a duty to maintain the Power Lines in a reasonably safe i

                     2       condition. At all relevant times, Defendants operated, controlled, and/or maintained the Power

                     3       Lines. At all times relevant, Defendants were required to own, design, control, possess, operate,

                     4       install, construct, inspect, maintain, and manage the Power Lines, including the real estate, rights-
                     5       of-way, easements, fixtures, conductors, devices, poles, conduits, apparatus, parts, and equipment

                     6       in accordance with all standards, laws, rules, regulations, and orders pertaining thereto.

                     7                   46.      Defendants, in connection with the production, sale, transmission, and distribution

                     8       of electricity, had a non=delegable duty, commensurate with and proportionate to the da.nger of

                     9       transmitting power, to own; design, control, possess, construct, operate, install, inspect, maintain,

                 10          and/or manage the Power Lines in a proper, reasonable, careful, and safe manner, including the real

                 11          estate, rights-of-way, easeinents, fixtures, conductors, devices, poles, conduits, apparatus, parls,

                 12          and equipment around, on, or near the subject Power Lines.

                 13                      47.      Defendants had a non-delegable duty to properly, reasonably, carefully, and safely

                 14          maintain and inspect the Power Lines, in such a manner that they operate without any electrical

                 15          faults, sparking, arcing, or other electrical failures.

                 16                      48.      Defendants have a non-delegable duty, to properly, reasonably, carefully, and safely

                 17      I   mailitain any real estate, rights-of-way, and/or easements near the Power Lines; and those duties

                 18          included, but were not limited to keeping vegetation clear of the Power Lines an keeping the Power

                 19          Lines free from trees, branches, twigs, bushes, and growth.

                 20                      49.      Defendants failed and neglected to perform and breached their duties described "

                 21      I   above in one or more of the following ways:

                 22                            a. Failing to conduct reasonably prompt, proper, and fiequent inspections of the Power

                 23                               Lines, wires, and associated equipment;

                 24                            b. Failing to maintain the Power Lines, wires, and any and all associated equiprnent in

                 25                               a manner that avoids igniting fire during long, dry seasons by allowirig those lines

                 26                               to withstand foreseeable conditions to avoid igniting fires;

                 27                            c. Failing to maintain and monitor the Power Lines, wires, and any and all associated     I




                 28                               equipment in fire-prone areas to avoid igniting a fire and spreading fires;
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                     1                     d. Failing to keep the Power Lines and any and all associated equipment in a safe
                     2                        condition at all times to prevent fires;

                     3                     e. Failing to otherwise maintain and monitor the Power Lines and any and all

                     4                        associated equipment witliin this foreseeably fire-prone area to avoid igniting fires

                     5                        such as the Woolsey Fire;                                                                I
                     6                     f. Failing to design, construct, monitor, and maintain the Power Lines in a manner that '

                     7                        avoids igniting fire during long, dry seasons by allowing those lines to withstand

                     8                        foreseeable conditions;

                     9                     g. Failing to design, construct, operate, and maintain the Power Lines and associated

                 10                           equipment to withstand foreseeable conditions to avoid igniting fires; .
                 11                        h. Failing to install the equipment necessary, and/or to inspect and repair the equipment

                 12                           installed, to prevent the Power Lines from improperly sagging, operating, or making

                 13                           oontact with trees or other vegetation;

                 14                        i. Failing to keep the Power Lines and associated equipment in a safe condition at all

                 15                           times to prevent f res;
                 16                        j. Failing to de=energize the Power Lines before the Woolsey Fire's ignition;

                 17                        k. Failing to properly train a.nd supervise employees and agents responsible for
                 18                           maintenance and inspection of the Power Lines; and

                 19                        l. Failing to implement and follow regulation and reasonably prudent practices to

                 20                           avoid fire ignition.

                 21                  50.      Defendants' violation of the applicable standard of care as ' alleged herein

                 22      proximately and substantially caused the Woolsey Fire, resulting in destruction, damage, and injury

                 23      to the properry of the Insureds in the amount of no less than $2,481,971.15.
                 24                  51.      As a result of the damages suffered by the Insureds and pursuant to the terms of the
                 25      Policy, Underwriters made the Disbursements to the Insureds totaling no Iess than $2,481,971.15.
                 26                  52.      Underwriters, as subrogees of the Insureds, hereby demand an award in the amount

                 27      of no less than $2,481,971.15.
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                    1                                                      X.

                    2                                       THIRD CAUSE OF ACTION
                    3                                  (Negligence per se, as to all 1)efenclants)

                    4               53.   Underwriters incorporate by reference as if fully stated herein each of the foregoing

                    5 I facts, staternents, and allegations contained in paragraphs 1 through 52 above.

                    6               54.   SCE and Does 1-50, at all times relevant to this Complaiiit, had a duty to properly

                    7   design, construct, operate, maintain, inspect, and manage SCE's electrical infrastructure as well as

                    8   to triin trees and vegetation in compliance with all relevant provisions of applicable orders,

                    9   decisions, directions, rules or statutes; including those delineated by, but not limited to, Public

                10      Utilities Commission C'leneral Order 95, Rules 31.2 and 38, Public Resources Code Section 4435,

                11      and Public Utilities Commission General Order 165.

                12                  55.   Violating a legislative enactment or adrninistrative regulation which defines a

                13      miniinum standard of conduct is unreasonable peN se.

                14                  56.   SCE and Does 1-50, violated the above-enumerated enactments and regulations by

                15 I acts and omissions including, but not limited to:

                16                        a. Failing to service, inspect or maintain electrical infrastructure, structures and

                17                           vegetation affixed to and in close proximity to high voltage electrical lines;

                18                        b. Failing to provide electrical supply systerns of suitable design;

                19                        c. Failing to construct and to maintain such systems for their intended use of safe

                20                           transmission of electricity considering the lsnown condition of the combination

                21                           of the dry season and vegetation in the area, resulting in the Insureds being

                22                           susceptible to the ignition and spread of fire and the fire hazard and danger of

                23                           electricity and electrical transmission and distribution;

                24                        d. Failing to properly design, construct, operate, maintain, inspect and manage its

                25                           electrical supply systems and the surrounding arid vegetation resulting in said

                26                           vegetation igniting and accelerating the spread of the fire;

                27                        e. Failing to properly safeguard against the ignition of fire during the course and

                28                           scope of employee worlc on behalf of SCE;
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                   1                        f. Failing to comply with the enumerated legislative enactments and administrative

                   2                            regulations.

                   3               57.      The violation of General Order 95, including, but not limited to, Rules 31.2 and 38,

                   4   Public Resources Code section 4435, and Public Utilities Commission General Order 165 by the

                   5   Defendants proximately and substantially caused the destruction, damage and injury to the

                   6   Insureds.

                   7               58.      The Insureds were and are within the class of persons for whose protection General

                   8   Order 95, including but not linuted to Rules 31.2 and 38, Public Resources Code section 4435, and

                   9   Public Utilities Commission General Order 165 were adopted.

                  10               59.      Defendants are liable to the Insureds for all loss, damages and injury caused by and

                  11   resulting from Defendants' violation of General Order 95, including, but not limited to Rules 31.2

                  12   and 38, Public Resources Code Section 4435, and Public Utilities Commission General Order 165.

                  13               60.      As a result of the damage to the Insureds' property, Underwriters made the

                  14   Disbursements totaling no less tha.n $2,481,971.15.

                  15               61.      Underwriters, as stibrogees of the Insureds, hereby demand an award in the amount

                  16   of no less than $2,481,971.15.

                  17                                                           xi,



                  18                                           FOURTI-I CAUSE OF ACTION
                  19                (Violation of HeaIth & Safety Code §§ 13007 & 13008, as to all Defendants)
                  20               62.      Underwriters incorporate by reference as if fully stated herein each- of the facts,

                  21   statements, and allegations contained in paragraphs 1 through 61 above.

                  22               63.      California Health & Safety Code § 13007 states:

                  23                     Any person who personally or through another willfully, negligently, or in
                  24                     violation of law, sets fire to, allows fire to be set to, or allows a fire kindled

                  25                     or attended by him to escape to, the property of another, whether privately

                  26                     or publicly owned, is liable to the owner of such property

                  27               64.      California Health & Safety Code § 13008 provides:

                  28                     Any person who allows any fire burning upon his property to escape to the
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                       1                     property of another, whether privately or publicly owned, without

                       2                     exercising due diligence to control such fire, is liable to the owner of such

                       3                     property for the damages to the property cattsed by the f re.

                       4               65.      As a result of Defendants' actions, including but not limited to their negligence, I
                       5   violations of California Public Resource Code §§ 4292, 4293, and 4294, and violations of General '

                       6   Order 95, General Order 165, and/or California Health & Safety Code § 13001, the Woolsey Fire

                       7   was set and/or allowed to be ignited aiid escaped to the Insureds' property, causing the damages to

                       8   property alleged herein. Further, Defendants failed to exercise dtie diligence to control the Woolsey

                       9   Fire, allowing it to escape their property and cause damage to the Insureds' property.

                   10                  66.      Pursuant to California Health & Safety Code § 13007, Defendants are jointly and

                   11      severally liable for the property damage caused by the Woolsey Fire as alleged herein.
                   12                  67.      As a result of the damage to the Insureds' property, Underwriters made the

                   13      Disbursements totaling no less than $2,481,971.15.
                   14                  68.      Underwriters, as subrogees of the Insureds, hereby demand an award in the amount

                   15      of no less than $2,481,971.15.

                   16                                                            X-U,
                   17                                              FIFTI3 CAUSE OF ACTION
                   18                         (Violation of Public Utilities Code § 2106, as to SCE and Does 1-50)
                   19                  69.      Underwriters incorporate by reference as if fully stated herein each of the foregoing

                  20       facts, staternents, and allegations contained in paragraphs 1 through 68 above.

                  21                   70.      As a utility, SCE and its employees are legally required to comply with the rules and

                  22       orders promulgated by the California Public Utilities Commission pursuant to California Public
                  23       Utilities Code § 702.
                  24                   71.      California Public Utilities Code § 2106 states, in pertinent part:
                  25                            Any public utility which does, causes to be done, or permits any act, matter,
                  26                            or thing prohibited or declared unlawful, or which omits to do any act,
                  27                            matter, or thing required to be done, eitlier by the Constitution, any law of
                  28                            this State, or any order or decision of the commission, shall be liable to the
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                       1                      persons or corporations affected thereby for all loss, damages, or injury

                       2                      caused thereby or resulting therefrom. If the court finds that the act or

                       3                      omission was willful, it may, in addition to the actual damages, award

                       4                      exeniplary damages. An action to recover for such loss, damage, or injury

                       5                      may be brouglit in any court of competent jurisdiction by any corporation or

                       6                      person.

                       7                72.   Pursua.nt to Public Utilities Code § 451, SCE is required to provide, maintain, and

                       8   service equipment and facilities in a manner adequate to maintain the safety, health, and

                       9   convenience of their customers and the public.

                   10                   73.   At all times herein mentioned, SCE is and was required to design, engineer,

                   11      construct, operate, and maintain electrical supply lines in a manner consistent with their use, talung

                   12      into consideration local conditions and otlier circumstances, so as to provide safe and adequate

                   13      electric service pursuant to Public Utility Commission General Order 95, Rule 33.1' and General

                   14      Order 165.

                   15                   74.   Through their omissions, commissions, and conduct alleged herein, SCE violated

                   16      Public Utilities Code §§ 702 and 451 and/or Public Utilities Commission General Order 95, thereby

                  17       malcing them liable for losses, damages, and injury sustained by the Insureds pursuant to Public

                   18      Utilities Code § 2106.

                   19                   75.   As a result of the damage to the Insureds' property, Underwriters made tlie            I,
                  20       Disbursements to the Insureds totaling no less than $2,481,971.15.                                         I
                  21                    76.   Underwriters, as subrogees of the Insureds, hereby demand an award in the amount        I
                  22       of no less than $2,481,971.15.

                  23                                                         XIII.
                  24                                            SIXTH CAUSE OF ACTION                                                    I
                  25                (Trespass Pursuant to Civil Code § 3333 and CCP § 1021.9, as to all Defendants)
                  26                    77.   Underwriters 'incorporate by reference as if fiilly stated herein each of the facts,
                  27       statements, and allegations contained in paragraphs 1 through 76 above.

                  28 1 ///                                                                                                           I
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                     1           78.    At all relevant times herein, the Insureds was the owner, tenant, and/or lawful

                     2   occupier of property damaged by the Woolsey Fire,

                     3          79.      In causing the Woolsey Fire, Defendants, and each of them, negligently allowed

                     4   the Fire to ignite and/or spread out of control, entering and causing injury to the Insureds' property.

                     5          80.     The Insureds did not grant.permission for SCE, Boeing, or poes 1-50 to cattse or

                     6   allow the Woolsey Fire to enter their property.

                     7          81.     As a direct, proximate and substantial cause of the trespass, the Insureds suffered

                     8   and will continue to suffer damages. As a result of tlie Insureds' damages, Underwriters made the

                     9   Disbursements totaling no less than $2,481,971.15.

                 10             82.     Underwriters, as sttbrogees of the Insureds, hereby demand an award in the amount

                 11      of no less than $2,481,971.15.

                 12                                                       xiv,


                 13                                       SE'VENTH CAUSE OF ACTION
                 14                                   (Private Nuisance, as to all Defendants)
                 15             83.     Underwriters incorporate by reference as if fully stated herein each of the facts,

                 16      statements, and allegations contained in paragraphs 1 through 82 above.

                 17             84.      Defendants' actions, conduct, omissions, negligence, trespasses, and .faih.ires to act

                 18      resulted in a fire hazard, specifically the Fire, that was an obstruction to the free use of the Insureds'

                 19      property which invaded the right to use the Insureds' property.

                 20             85.     The Woolsey Fire interfered with the free use and enjoyment of the Insureds'

                 21      property, causing the Insureds unreasonable harm and substantial actual damages constituting a

                 22      nuisance, pursuant to Civil Code §§ 3479 and 3481.

                 23             86.     As a result of Defendants' actions and omissions, the Insureds suffered harm that is

                 24      different from the type of harm suffered by the general public. Specifically, the Insureds have lost
                 25      the occupancy, possession, use, and/or enjoyment of their land, real, and/or personal property,
                 26      including but not limited to: a reasonable and rational fear that the area is still dangerous; a

                 27      diminution in the fair marlcet value of their property; an impairment of the salability of their

                 28      property; and a lingering smell of smoke, and/or constant soot, ash, and/or dust in the air. To the
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                          1   extent that the Insureds suffered such losses and Underwriters made payments for such losses,

                          2   Underwriters are entitled to recover such amounts fro>n Defendants.

                          3               87.   Underwriters, as subrogees of the Insureds, hereby demand an award in the amourit

                          4   of no less than $2,481,971.15.

                          5                                                   XV.

                          6                                     EIGHTH CAUSE OF ACTION

                          7                              (Premises Liability, as to Boeing and Does 1-50)

                          8               88.   Underwriters incorporate by reference as if fully stated herein each of the facts,

                          9   statelnents, and allegations contained in paragraphs 1 through 87 above.

                      10                  89.   Boeing, by its ownership, management and contractual obligations assumed and

                      11      owed a non-delegable duty to the Insureds and others similarly situated to prevent any of the

                      12      byproducts from the SSFL from escaping Boeing's property. Boeing owed a duty to provide fire

                      13      suppression equipment and personnel at its SSFL property adequate to prevent fires from spreading

                      14      outside of its property.

                      15                  90.   Boeing and Does 1-50 owed a duty to the Insureds and others similarly situated to

                      16      warn them of potential hazards of their property and the likelihood that fires on the SSFL would be

                      17      exacerbated, enhanced, and spread by substances in the soil, trees, and foliage and that the quick

                      18      spread of the fire was likely to endanger properties in Ventura a.nd Los Angeles Counties.

                      19                  91.   The Fire was the direct, legal, and proximate cause of Boeing's (a) failure to

                      20      suppress the fire; (b) intentional direction to . its fire department personnel to refrain from

                      21      suppressing the fire or taking action to prevent the spread of the fire; (c) refraining from assisting

                      22      the Ventura and Los Angeles fire departments as required by their cooperation, aid, and assistance

                      23      agreements; and (d) other acts and omissions all of which constitute negligence.

                      24                  92.   As a further proximate result of Boeing's and Does 1-50's actions and omissions
                      25      described herein, the Insureds lost their home, personal possessions, and had to relocate and

                      26      evacuate, incurring expenses in tlie amount of $2,481,971.15.

                      27                  93.   Underwriters, as subrogees of the Insureds, hereby demand an award in the amount

                      28      of no less than $2,481,971.15.
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                     1               (iii)   an award of attorneys' fees and cost of suit to the extent allowed by California law,
                     2                       including CCP § 1036;
                     3               (iv)    an award of pre-judgmerit interest in accordance with Civil Code § 3287;

                     4               (v)     an award of post-judgment interest in the maximum amount allowed by applicable

                     5                       law; and

                     6               (vi)    such other and fiu-ther relief at law or in equity as the Court may deem just and

                     7                       proper.

                     8
                         DATED: January 13, 2020                               HIGGS FLETCHER & MACK LLP
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                                                                                     PAUL J. LEEDS, ESQ.
                                                                                     MAGGIF, E. SCHROEDTER, ESQ.
                 12                                                                  JAMIE M. RITTERBECK, ESQ.
                                                                                     Attorneys for Plaintiff
                 13                                                                  CANOPIUS US INSURANCE, INC. as
                                                                                     subrogee of Anil Guram, Mohammed Abu-
                 14                                                                  CGheida, Elliot Glusker, Tracey Birdsall,
                                                                                     Adam Peters and Brian and Peggy Moreno
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